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SUPREME COURT OF THE STATE OF NEW YORK
IN AND FOR THE COUNTY OF KINGS

VOX FUNDING LLC,

                             Plaintiff,
             ~ versus ~                                                  Index No. 504456/2024 .

CXOSYNC LLC doing business as CXOSYNC;
and RUPEN PATEL,                                                         NOTICE OF FILING OF
                                                                         NOTICE OF REMOVAL
                             Defendants.


   TO THE HONORABLE ADMINISTRATIVE JUDGE;
   THE CHIEF CLERK OF THE COURT;
   AND THE JUSTICES OF THE SUPREME COURT
   OF THE STATE OF NEW YORK IN AND FOR THE COUNTY OF KINGS;
   AND COUNSEL FOR THE PLAINTIFF:

                  PLEASE TAKE NOTICE that on March 28, 2024, Defendants filed a Notice of

   Removal of this action before the United States District Court for the Eastern District of New

   York, a copy of which is annexed here as Exhibit A.

                  Defendants respectfully submit that pursuant to 28 U.S.C. § 1446, the filing of this

   Notice of Removal in the United States District, together with the filing of this Notice of Filing of

   Notice of Removal with this Court, effects the Removal of this action, and this Court may proceed

   no further unless and until this case is remanded.



   Dated: March 28, 2024


                                                 RESPECTFULLY SUBMITTED,

                                          By:
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Served on all Parties via NYSCEF
